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                           UNITED       STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division


 MARY JANE HALL,


              Plaintiff,

 V.                                                            Case No.:       2:18cv244


 THE COCA-COLA COMPANY,              et a l . .

                 Defendants.




                                      OPINION AND ORDER


        This matter is before the Court on a                      Motion to Remand filed

 by plaintiff Mary Jane Hall                      ('"Plaintiff"      or    ''Hall").      Mot.   to

 Remand,   ECF No.       9.     After Plaintiff was               injured when a          product

 display fell on her at the commissary on Joint Expeditionary Base

 Little Creek      ("Little Creek"),               she brought suit against multiple

 defendants in the Circuit Court of the City of Norfolk, Virginia.

 Compl.,     ECF   No.        1-1.        Defendant       Prime      Team     Services,        Inc.

 ("Defendant"      or    "Prime        Team")      removed     the    case    to   this      Court,

 contending      that    jurisdiction was              proper      under      federal     enclave

 jurisdiction because Plaintiff was injured on a                              federally owned

 military base.         Notice of Removal, ECF No. 1.                     Plaintiff then filed

 a    Motion to Remand,          challenging the           sufficiency of Defendant's

 notice of removal and arguing Defendant should not be granted leave

 to amend.       ECF No.       9.    The motion has been fully briefed and no

 hearing    is   necessary.            For the       reasons      noted below,         the    Court
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 DENIES P l a i n t i f f ' s Motion for Remand and GRANTS Defendant Leave to


 Amend.


                    I.    FACTUAL BACKGROUND AND                 PROCEDURAL HISTORY


         On    March        2,    2016,       while      Plaintiff       was    at    the   commissary

 located on Little Creek, a basketball goal post, which was part of

 a   product        display,          fell       and   injured her.        Compl.,        ECF No.      1-1.

 Plaintiff initiated the present negligence action against Prime

 Team    and    several          other       defendants      in    the     Circuit     Court     for    the


 City of Norfolk on March 1, 2018. Id. The Complaint alleges that

 Prime      Team was         one       of    the       parties    responsible         for    "managing,

 monitoring,             and stocking"            the display.       Id.    The other defendants

 answered in state court in April,                           2018.      State Court Docket,             ECF

 No.    1-4.   Prime Team timely filed a notice of removal on May 9,

 2018, to which the other defendants consented.^ Notice of Removal,

 ECF.    No.   1.


         The   notice        of       removal      stated that       the    case     could have        been

 brought       in         federal       court          originally       under      federal       enclave

 jurisdiction. Id. Defendant alleges that Little Creek is a federal

 enclave       because           it    is    a    military       base    owned       by    the   federal

 government. Id. To support the assertion of federal ownership, the

 notice of removal included a link to a history of Little Creek on

 the Environmental Protection Agency's website referencing the land


 ^ As of the date of this decision, defendants Ryan Roderick and Robert Adams
 have not been served. The parties do not dispute whether they were required to
 consent.
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 as ''federal military property." Id.                    The notice also included, as

 an attachment,         the    original        Order Vesting Title           in    the    United

 States from 1942. Id. Further, Defendant noted that the commissary

 itself is operated by a federal agency                        (the Defensive Commissary

 Agency) and cited numerous cases in which courts exercised federal

 enclave jurisdiction over similar military bases. Id.                              The notice

 also asserts that Little Creek is owned by the Department of the

 Navy and that the case implicates federal interests because the

 injury occurred at the federally operated commissary. Id.

         Defendant does not assert any basis for removal other than

 federal enclave jurisdiction.

                                        II.   LEGAL    STANDARD


 A.   Federal Enclave Jurisdiction


         As   courts    of    limited subject matter               jurisdiction,         federal

 courts may exercise "only the jurisdiction authorized them by the

 United States Constitution and by federal statute."                          United States

 ex rel. Vuyyuru v.           Jadhav,        555 F.3d 337,      347    (4th Cir.    2009).   The

 primary sources of federal court jurisdiction are diversity and

 federal      question        jurisdiction.        Diversity          jurisdiction       pennits

 courts to hear c i v i l actions between ''citizens of different states"


 where    the   amount        in   controversy         exceeds    $75,000    "exclusive       of

 interests      and    costs."          28    U.S.C.     §    1332.       Federal     question

 jurisdiction      exists          in   "all     civil       actions    arising     under    the

 Constitution,        laws,    or treaties of the United States."                    28 U.S.C.
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 §     1331.    This        case       implicates           a     type     of    federal        question

 jurisdiction knovm as federal enclave jurisdiction.

         Federal enclave jurisdiction arises from Article I, Section

 8 of the United States Constitution, which provides that "Congress

 shall have Power . . .                   to exercise exclusive Legislation .                          .   .

 over all Places purchased by the Consent of the Legislature of the

 State    in    which       the    Same       shall    be,       for     the    Erection    of    Forts,

 Magazines,         Arsenals,       Dock-Yards,             and other          needful    Buildings."

 U.S.    Const,      art.    I,    §     8,   cl.     17.       Lands obtained by the United

 States       for    federal      use     under     this        clause     are    known    as    federal


 enclaves,          and   the      federal       government            may      exercise    exclusive

 legislative jurisdiction within the lands' boundaries. See Surplus

 Trading Co. v. Cook,              281 U.S.         647,        652   (1930)     ("It has long been

 settled that where lands for such a purpose are purchased by the

 United       States      with     the    consent       of       the     State    legislature,         the

 jurisdiction theretofore residing in the state passes,                                     in virtue

 of    the constitutional provision,                        to the United States,                thereby

 making the jurisdiction of the latter the sole jurisdiction."). To

 exercise       federal      legislative            jurisdiction on enclaves,                    (1)   the

 federal government must acquire land within a state,                                    (2) the state

 must cede or consent to federal                        jurisdiction over the land,                    and

 (3)    the    federal      government must accept                       jurisdiction.           Paul v.

 United States, 371 U.S.                 245,   264,    267       (1963).
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         Judicial      subject     matter     jurisdiction            is    derived        from    the

 legislative jurisdiction on federal enclaves. See 13D Charles Alan

 Wright & Arthur R. Miller, Federal Practice & Procedure § 3563                                    (3d

 ed.)     Because the federal government has legislative jurisdiction,

 the laws in effect on that land are generally considered the laws

 of     the   federal     government,       which        gives    courts          subject    matter

 jurisdiction to          hear cases       that     occur on the            land.        See James

 Stewart & Co. v.          Sadrakula,      309 U.S.       94,    99     (1940)      (holding that

 state laws in place when land was purchased continued as laws of

 the federal territory); see also Mater, 200 F.2d at 124; Colon v.

 United States, No. GJH-17-775,               2018 U.S. Dist. LEXIS 42761, at *27

 (D.    Md.   2018).        Courts,       including       the    United States             Court    of

 Appeals for the Fourth Circuit, have held that federal courts have

 federal      question      jurisdiction          over    tort    claims          that     arise    on

 federal enclaves.          Durham v. Lockheed Martin Corp., 445 F.3d 1247,

 1250     (9th Cir.       2006)    (citations      omitted);          Stokes v.       Adair,       265

 F.2d 662,      665-66      (4th Cir.       1959);       Federico v.         Lincoln Military

 Hous., 901 F. Supp. 2d 654, 664                  (E.D. Va. 2012); Akin v. Big Three

 Indus.,      Inc.,   851 F.      Supp.    819,    821-22       (E.D.      Tex.    1994)     (citing

 Mater v.      Hoi ley,    200 F.2d 123,          124    (5th Cir.         1952))    (" [A] ny law

 existing in territory over which the United States has exclusive

 sovereignty must derive its authority and force from the United

 States and is for that reason federal law.").
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         The Tenth Circuit has observed that the existence of judicial

 subject    matter        jurisdiction on        federal      enclaves      is    a    ''complex

 question"       that factors       in federal policy,          the state law at the

 time the land was acquired, whether that state law has been altered

 by federal        legislation,      and whether        the    federal    government has

 ''exclusive,      concurrent or proprietorial                jurisdiction."           Celli v.

 Shoell,    40     F.3d    324,    328   (10th   Cir.    1994) .      Because          judicial

 subject    matter        jurisdiction     is    derived      from    the     existence      of

 federal legislative jurisdiction, the three elements necessaiy for

 legislative jurisdiction are used to determine whether the court

 can exercise its           jurisdiction over a         case that happened on the

 land.


         First,    a    court must determine if the federal government has

 acquired title to the land. Paul, 371 U.S. at 267. This is normally

 a relatively easy determination.

         Second,       because t i t l e over the land is not sufficient,                  even

 if such title exists, a court must still decide whether the state

 has ceded or consented to jurisdiction of the federal government.

 See id.        As the Second Circuit has noted,              the United States "does

 not     have     jurisdiction      over   all     lands      owned      by      the    federal

 government within the state" by virtue of mere title. United States

 V.    Davis,    726 F.3d 357,      363-64      (2d Cir.      2013). Davis goes on to

 list several cases in which federal courts found that they could

 not     exercise        federal     enclave      jurisdiction        despite           federal
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 ownership of the land.        Id. at 364.          Courts look to the state law

 at the time the land was acquired or other indications of consent,

 such as letters between government officials, to determine whether

 and to what extent the state consented to jurisdiction. See Jones

 V.    John Crane-Houdailie.       Inc.,    No.   CCB-11-2374,     2012 U.S.       Dist.

 LEXIS 48931, at *10 (D. Md. Apr. 6, 2012)              (considering the language

 of a    Maryland statute consenting to jurisdiction of the federal

 government); Federico, 901 F. Supp. 2d at 662 (looking at a letter

 from a    director of real estate for the Navy to the Governor of

 Virginia    adjusting      jurisdiction     from     exclusive    to    concurrent).

 Moreover,    the state may consent to or cede either exclusive or

 concurrent jurisdiction. See Kleppe v.               New Mexico,       426 U.S.    529,

 542    (1976).    The   federal   government may also originally possess

 exclusive jurisdiction but cede concurrent jurisdiction back to

 the state.       See Federico,    901 F.   Supp.    2d at 662,    668.    Concurrent

 jurisdiction does not bar a federal court from hearing state law

 claims, but in such cases, the court should deteimine whether there

 is a compelling argument for federal enclave jurisdiction based on

 substantial federal        interests.      Akin,    851 F.    Supp.    at 822     & n.l

 (holding whether the government had concurrent jurisdiction over

 the land was irrelevant to whether there was a                   federal question

 because     the    controversy    on   federal      land     involved    substantial

 federal    interests);     Federico,      901 F.    Supp.    2d at 664     (agreeing

 with the court in Akin that there should be federal jurisdiction
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 over    federal      enclaves     under    concurrent          jurisdiction to prevent

 state      interference       with   substantial     federal       interests).      But    see

 Ching v. Aila,         No.   14-00253 JMS-RLP,       2014 U.S. Dist. LEXIS 117707

 at 26-28 (D. Haw. Aug. 22, 2014)                 (arguing that the Federico court

 misinterpreted            established     federal        question     jurisprudence         in

 applying a "subjective" federal interest standard).

         Third,      after a    state consents,       the federal          government must

 accept jurisdiction for any land purchased after 1940. 40 U.S.C.

 §   3112     ("It   is conclusively presumed that                 jurisdiction has not

 been accepted until the Government accepts jurisdiction over land

 as provided in this            section.");       see Paul,       371 U.S.    at    265.     To

 accept jurisdiction, the head of a Government agency or department

 or another authorized officer must file                        "a notice of acceptance

 with the Governor of the State or in another manner prescribed by

 the    laws   of    the   State   where    the    land    is    situated."   40    U.S.C.    §

 3112


         Therefore, without a showing of federal ownership of the land,

 consent to jurisdiction,               and acceptance of jurisdiction,              a   court

 cannot exercise subject matter jurisdiction over cases on a federal

 enclave.


         B.   Removal


         Removal      implicates        significant        federalism       concerns       and,

 accordingly,         requires     district       courts    to    construe    the    removal

 statute       strictly       against    removal.         Campbell    v.    Hampton      Roads

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 Bankshares, Inc., 925 F. Supp. 2d 800, 803 (E.D. Va. 2013)                          (citing

 Venezuela v.          Massimo Zanetti Beverage USA,              Inc.,   525 F.   Supp.   2d

 781,       784   (E.D. Va.    2007)).   Federal district courts may only keep

 a case if the court has subject matter jurisdiction and the case

 could have been brought in federal court originally.                         28 U.S.C.     §

 1441.


            Section 1441 of Title 28 of the United States Code, provides

 that       "any civil     action brought            in a   State court of which the

 district courts of the United States have original jurisdiction,

 may be removed by the defendant or the defendants to the district

 court of the United States for the district and division embracing

 the place where such action is pending."                     Id. § 1441(a) . To remove

 a case to federal court,           defendants must file a notice of removal

 within thirty days of when the grounds for removal become apparent.

 Id.    §    1446.


            Such notice must contain a               copy of the process,       pleadings,

 and orders already served as well as "a short and plain statement

 of the grounds for removal." Id. § 1446(a). The Fourth Circuit has

 held that this language requiring a ''short and plain statement" is

 "deliberately parallel"            to Federal Rule of Civil Procedure 8 (a)

 and that i t would be "inappropriate for .                   .   . the removing party's

 notice of           removal   to meet   a   higher pleading standard than one

 imposed on a plaintiff in drafting an initial complaint." Ellenburg

 V.    Spartan Motors Chassis,           Inc.,       519 F.3d 192,    199-200      (4th Cir.


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 2008)        (citing Bell Atlantic Corp.                      v.   Twombly,     127 S.    Ct.       1955,

 1964-65 (2007)). Further, the Supreme Court has concluded that the

 notice requirement ''tracks the general pleading requirement'' and

 does not call for a defendant to include evidence supporting the

 basis for jurisdiction. Dart Cherokee Basin Operating Co., LLC v.

 Owens,       135 S.      Ct.   547,        552-53   (2014) .        The pleading standard,             as

 articulated in Twombly and Iqbal requires only that the parties

 allege       enough       facts    to       create       a    plausible       basis     for    relief.

 Ashcroft V.         Iqbal,      556        U.S.   662,       678    (2009);    Twombly,       550    U.S.

 544,     570.      Therefore,          a     party's         notice    of     removal     need       only

 plausibly          allege      that        the    district         court    has   subject       matter

 jurisdiction.

         C.    Leave   t o Amend


         If the Court decides that a notice of removal is insufficient,

 i t may look to 28 U.S.C.                    § 1653,         which provides that "defective

 allegations         of    jurisdiction may be amended,                        upon terms,       in the

 trial or appellate courts."                       28 U.S.C.        § 1653.     The Supreme Court

 has    explained that             28   U.S.C.       §    1653      "addresses     only    incorrect

 statements          about      jurisdiction             that       actually     exists,       and     not

 defects       in    the    jurisdictional            facts         themselves."       Newman-Green,

 Inc.    V. Alfonzo-Larrain,                490 U.S.      826,      830-31     (1989).

         One line of cases reflects a "strict" application of 28 U.S.C.

 § 1653, disallowing amendments after 28 U.S.C. § 1446(b)'s thirty-

 day statutory period for removal. See, e.g.. Covert v. Auto. Credit

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 Corp., 968 F. Supp. 2d 746, 749-50 (D. Md. 2013)                      (denying leave to

 amend    because        ''Defendant    did        not    merely     make     a    defective

 allegation;      it utterly failed to allege a                    jurisdictional fact,

 namely that the size of the putative class is greater than 100

 persons"); Iceland Seafood Corp. v. Nat^l Consumer Coop. Bank, 285

 F. Supp. 2d 719, 726-27 {E.D. Va. 2003); Tincher v. Ins. Co., 268

 F. Supp. 2d 666, 667-68           (E.D. Va. 2003); Richmond, Fredericksburg

 & Potomac R.R.     Co.     v.   Intermodal Servs. ,         Inc.,    508 F.      Supp.    804,

 805-07   (E.D.    Va.    1981)    (''The view of          strict    construction holds

 that all statutory requisites of diversity jurisdiction must be

 alleged at least imperfectly in the original petition for removal,

 otherwise the petition may not be amended after expiration of the

 30-day removal period."); Thompson v. Gillen, 491 F. Supp. 24, 27

  (E.D. Va. 1980)        (allowing amendments only for "setting forth more

 specifically grounds for removal which had been imperfectly stated

 in the original petition; missing allegations may not be supplied

 nor new allegations furnished").                  Another line of cases has taken

 a more "liberal" approach.            See,    e.g.,      Nutter v.    New Rents,         Inc.,

 945 F.2d 398, 1991 U.S. App. LEXIS 22952, at * 6                      (4th Cir. Oct. 1,

 1991)    (unpublished       table     decision)         (stating    that   the    truth     of

 diversity    jurisdiction        should matter more            than    the       "choice    of

 verbiage")    (quoting Goforth v. Allstate Ins. Co., 213 F. Supp, 595

  (W.D.N.C. 1963)); Muhlenbeck v. Ki, LLC, 304 F. Supp. 2d 797, 799-

 802 (E.D. Va. 2004)         (holding that courts should follow a two-step

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 process     to   determine     if       a    party    can amend:       (1)    decide      if    the

 grounds      for     removal       are        "imperfectly      stated"        or        ''omitted

 completely'' and, if imperfect,                (2) decide whether the amendment is

  ''technical"     or "material and substantial");                  Ginn v.         Stegall,     132

 F.R.D. 166, 167 (E.D. Va. 1990)                 ("It is well settled that amendment

 is    liberally allowed           to    cure    defective      allegations          of    removal

 jurisdiction.").

        In    2014,       the   Fourth         Circuit     addressed          the     historical

 differences between the "strict" and "liberal" approaches. Wood v.

 Crane Co.,       764 F.3d 316,         323    (4th Cir.   2014).      The court stated:

        these two schools differ only in verbiage. The upshot is
        the same;   after thirty days,    district courts have
        discretion to permit amendments that correct allegations
        already present in the notice of removal. Courts have no
        discretion   to  permit   amendments   furnishing  new
        allegations of a jurisdictional basis. . . . The trick
        lies in placing a     case within one of those two
        categories.

 Id.   Courts      have    since    held       that,    after   the     thirty-day           limit,

 amendments       that    "elaborate          on an existing        basis      or    ground      for

 subject matter jurisdiction already stated" are permissible, but

 amendments that "seek to inject a new basis or ground for subject

 matter      jurisdiction"         are       impermissible.      Arlington           Cmty.      Fed.

 Credit Union v.          Berkley Reg'l Ins.            Co.,   57 F.    Supp.       3d 589,      598

  (E.D. Va.    2014)      (allowing a party to amend its notice of removal

 to properly allege the citizenship of a company when i t failed to

 allege that it was localized, a factor required for citizenship of



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 a federal corporation) ; see AEA v. Volvo Penta of the Ams., LLC,

 77    F.    Supp.    3d 481,         487-88      (E.D.       Va.    2015)     (holding that      the

 defendant was not permitted to amend its notice of removal to add

 separate federal question jurisdiction which the court considered

 a ''new allegation[] of a jurisdictional basis" because the original

 notice only alleged maritime jurisdiction);                                 see also Britton v.

 Gardner, No.         3:14CV683        (RCY),     2015 U.S. Dist. LEXIS 3746, at *10,

 *16-19       (E.D.    Va.    Jan.    12,    2015) (granting leave to amend for an

 ''imperfectly stated technical defect"                             of verb tense related to

 timing of citizenship because it would not raise a                                     significant

 factual       dispute        and     did    not       add    an     entirely     new    basis    for

 jurisdiction); Evans v. GEICO Gen. Ins. Co., No. 3:14-CV-659, 2014

 U.S. Dist. LEXIS 166919, at *10                       (E.D. Va. Dec. 2,         2014).

        Therefore,           courts    have discretion to allow amendments                       that

 correct present             allegations          but       "have   no discretion to permit

 amendments furnishing new allegations of a jurisdictional basis."

 Wood, 764 F.3d at 323. The difference between imperfect and missing

 can be a difficult line to draw. Arlington Cmty. Fed. Credit Union,

 57 F. Supp. 3d at 597. On one end of the spectrum are amendments,

 like       in Wood,     that       attempt       to    add a       completely new basis          for

 jurisdiction. Wood, 764 F.3d at 321-24 (forbidding an amendment to

 add the separate basis of federal question jurisdiction when no

 such basis was originally alleged) ; AEA,                            77 F.     Supp.    3d at 487-

 88.    On the other end of                 the    spectrum are cases             that    require   a

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 slight change in wording to perfect an allegation of the same basis

 for jurisdiction. See Britton, 2015 U.S. Dist. LEXIS 3746, at *16-

 19;   Evans,     2014    U.S,    Dist.     LEXIS    166919,       at    *    15-18.    Moreover,

 after deciding that an amendment would fix an imperfectly stated,

 rather than a           missing,     allegation,       some     courts        then determine

 whether the amendment is technical,                   or material and substantial,

 based on the factual dispute the amendment would cause.                                 Britton,

 2015 U.S. Dist. LEXIS 3746, at *17-19; Muhlenbeck, 304 F. Supp. 2d

 at    799-802.      The    court     must    decide       where    within       the     range       of

 amendments a particular case falls to determine if the amendment

 is permissible.

                                            III.    ANALYSIS


        Plaintiff        argues     that    this    case    must        be    remanded because

 Defendant's       notice    of     removal    failed      to   establish        that        (1)    the

 Commonwealth of Virginia consented to or ceded jurisdiction,                                       (2)

 the federal government accepted jurisdiction, and (3)                                there was a

 substantial        federal       interest.        Plaintiff        further          claims        that


 Defendant should not be granted leave to amend its notice. For the

 reasons    stated below,           the    Court agrees with Plaintiff                   that       the

 notice    of     removal    was     insufficient       because          it    did     not    allege

 essential elements of federal enclave jurisdiction. However,                                       the

 Court holds that Defendant should be granted leave to amend.




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            A. Sufficiency of Defendant's Notice of Removal

            For the reasons         stated below,       the Court concludes that                   the

 notice of removal is insufficient because i t fails to allege two

 essential elements of federal enclave jurisdiction:                               (1) consent by

 the Commonwealth and (2) acceptance by the federal government.2

            Though it need not prove the basis for                           jurisdiction,         the

 notice of removal must plausibly allege the basis while satisfying

 the    pleading      standards         established      in Twombly and              Iqbal.    Dart

 Cherokee,         135 S.    Ct.    at 553-54;      Ellenburg,         519 F.3d at 199-200;

 Norair Eng'g Corp.            v.     URS Fed.     Servs.,     Inc.,    No.    CV RDB-16-1440,

 2016       U.S.   Dist.    LEXIS      172586,     at   *6-8    (D.    Md.    Dec.    14,    2016);

 Jones,       2012 U.S.      Dist.     LEXIS 48931,       at    *9.    However,       "it is not

 enough to allege in terms that the case is removable or belongs to

 one of the enumerated classes, or otherwise to rest the right upon

 mere legal conclusions." Chesapeake & O.R.                            Co.    v.   Cockrell,       232

 U.S.       146,   151-52     (1914).     Although       factual       allegations          must    be

 accepted as true,            [s] tatements of bare legal conclusions 'are not


 2 Though Plaintiff also claims that the notice fails to establish that there
 was    a    substantial    federal    interest.    Plaintiff    mischaracterizes       this   as    a
 required element of federal enclave jurisdiction. While substantial federal
 interests are important for courts to consider when there is only concurrent
 jurisdiction, it is not an established element. See Federico, 901 F. Supp. 2d
 at 672; s^ also Ching, 2014 U.S. Dist. LEXIS 117707, at *26-28. The court in
 Federico focused part of its analysis on federal interests, to determine whether
 federal enclave jurisdiction could exist,        because there was concurrent
 jurisdiction over the land. 901 F. Supp. 2d at 672-73. Even if substantial
 federal interests were required as a separate element that needed to be alleged.
 Defendant at least alleged that there was a federal interest because the
 incident occurred in a federally operated store on federal land. Notice of
 Removal, ECF No. 1. Thus, i t is not necessary for the Court to evaluate whether
 there is a substantial federal interest for the purpose of determining whether
 the notice plausibly alleged federal enclave jurisdiction.

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 entitled to the assumption of truth' and are insufficient to state

 a claim." Sizemore v. Burnette, No. 5:17-cv-02498, 2018 U.S. Dist.

 LEXIS 37042,     at *4      (S.D. W. Va. Mar 1,        2018)      (quoting Iqbal,        556

 U.S. at 679.     Iqbal requires that a complaint ''contain sufficient

 factual matter, accepted as true, to 'state a claim to relief that

 is   plausible    on      its   face.'"     Iqbal,    556   U.S.        at    678    (quoting

 Twombly,    550 U.S.       at 570).

       The   issue    in     this    case    is    whether   the    notice       of   removal


 alleging federal enclave jurisdiction contains sufficient facts to

 satisfy the Twombly and Iqbal standards when the notice of removal

 fails to allege consent by the state and acceptance by the federal

 government. To determine whether the notice is sufficient without

 the allegation of these elements, the Court compares this case to

 other notice of           removal   cases    dealing with         (1)    federal     enclave

 jurisdiction,       (2)    diversity jurisdiction,           and        (3)   class action

 j urisdiction.^




 3 Cases discussing the sufficiency of jurisdictional allegations in complaints
 are also instructive for notices of removal because the pleading standard for
 a complaint is the same as the standard for a notice of removal. See Ellenburg,
 519 F.3d at 199. For example, this Court has held that a jurisdictional
 allegation in a complaint was factually insufficient because the party
 incorrectly alleged the citizenship of a limited liability company ("LLC").
 SunTrust Bank v. Village at Fair Oaks Owner, LLC, 766 F. Supp.2d 686, 691-92
 (2011).   Rather than properly alleging the citizenship of the LLC's members,
 the complaint was deemed imperfect because it only alleged that the LLC was a
 Virginia LLC and had its principal office and headquarters in Norfolk, Virginia.
 Id. at 691. The complaint's allegations were insufficient because it did not
 allege facts to establish jurisdiction. Id.

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        1.   Federal      Enclave Cases


        A few courts have considered whether an allegation of federal

 enclave jurisdiction was sufficient in a                      notice of removal.          Two

 courts in this circuit have found that a                   notice of removal was not


 defective        where    it    generally alleged enclave             jurisdiction and

 specifically alleged the federal government acquired title to the

 land, but failed to allege consent by the state and acceptance by

 the    federal      government.        In an      unpublished       2012    decision,     the

 federal district court in Maryland held that "notice of removal

  [based     on    federal      enclave      jurisdiction]      is   not     defective     for

 failing      to     allege      Maryland's          consent   to     exclusive       federal

 legislative        jurisdiction."        Jones v.      John Crane-Houdailie,            Inc.,

 No.   CCB-11-2374,        2012 U.S.      Dist.      LEXIS 48931,    at *9    (D. Md. Apr.

 6,    2012). The court in Jones reasoned that,                     although determining

 whether something is a             federal enclave is "fact-intensive,"                   the

 pleading standard only needs ''to raise a right to relief above the

 speculative level" Id. at *11                (quoting Twombly,        550 U.S. at 555).

 The court rested its decision on a Maryland general consent statute

 providing exclusive jurisdiction over land purchased by the United

 States for arsenals and on "repeated references by judges in [the

 Maryland district]             court   to   the     federal   enclave      status"   of   the

 land. Id. at *10-12. A 2016 decision by the Maryland district court

 also declared that a notice of removal was not facially defective,

 even though i t did not allege consent of the state or acceptance

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 by the federal government.                  Norair Eng'g Corp.,              2016 U.S.      Dist.

 LEXIS 172586, at *6-8. The court again rested part of its decision

 on the fact that prior federal court cases had declared the land

 t o be a     federal    enclave.      Id.   at    *8


         Defendant's Brief in Opposition to remand in this case has

 employed reasoning similar to that used in Jones and Norair by

 pointing out that there was a similar consent statute in Virginia

 at   the time         that Little Creek was purchased,                     and by providing

 decisions        of    Virginia's      Attorney             General   declaring          that     the

 federal government has exclusive jurisdiction over Little Creek.

 However,      this case is different from Jones and Norair because a

 federal      court     has    never    deemed          Little    Creek     to   be   a    federal


 enclave. Moreover,           those facts are only provided in the Brief in

 Opposition. In the absence of a prior federal court determination,

 the fact that Defendant's Brief in Opposition provides a factual

 basis      for   the missing elements              is not enough for               the original

 notice to be deemed sufficient. See Wood,                        764 F.3d at 325           ("[T]he

 notice of removal itself—rather than any subsequent docket entry-

 is the document to which the court must refer.").

         As    discussed       above,        the        existence      of    federal       enclave

 jurisdiction          generally       requires          a    party    to    establish           three

 elements. See Paul,           371 U.S. at 264,              267; see also Davis,          726 F.3d

 at 363-64        (2d Cir. 2013); Wood v. Am. Crescent Elevator Corp., No.

 11-397,      2011 U.S.       Dist.    LEXIS 52239,            at *6-7      (E.D.   La.    May 13,

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 2011)     ("In order for federal enclave jurisdiction to exist,                                 (1)

 the United States must purchase land from a state for the purpose

 of    erecting     forts,       magazines,          arsenals,      dock-yards,          or    other

 needful buildings,            (2)     the state legislature must consent to the

 jurisdiction of the federal government,                          and    (3)    if the property

 was     acquired      after     194 0,      the     federal      government          must    accept

 jurisdiction 'by filing a notice of acceptance with the Governor

 of the State or in another manner prescribed by the laws of the

 State where the land is situated.'")                       (quoting 40 U.S.C.            3112(b))

  (internal citations omitted). A notice of removal must allege all

 of the necessary jurisdictional facts such that a district judge

 can determine whether jurisdiction exists. Covert v. Auto. Credit

 Corp. ,   968    F.    Supp.        2d 746,    749-50      (D.    Md.     2013)       (citing 14C

 Charles    Alan Wright              & Arthur       R.   Miller,    Federal           Practice   and

 Procedure § 3733 (4th ed.)). Legal conclusions are insufficient to

 state a claim. Iqbal, 556 U.S. at 678-79. Moreover, mere conclusory

 statements that a piece of land is a federal enclave are not enough

 to meet defendant's burden in a                    notice of      removal.       See Ballard v.


 Ameron     Int'l      Corp,    No.     16-cv-06074-JSC,           2016        U.S.   Dist.    LEXIS

 147810, at *7-9         (N.D.       Cal.,   Oct.    25,   2016).       The court in Ballard

 held that    the mere         statement that an Air Force base was a                        federal


 enclave was not enough to allege a factual basis for jurisdiction

 in the notice of         removal.        Id.   The defendant           in Ballard failed         to




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 show ownership of the land,              let alone any of the other elements.

 Id.


        Unlike       the   defendant     in    Ballard,    Prime       Team     has    at    least

 alleged        sufficient       facts    to    show     ownership         by    the       federal

 government—one of the required elements.                   However, ownership alone

 is generally not            enough.      A court cannot determine if                       it has

 federal enclave jurisdiction without facts showing title, consent,

 and acceptance.           Without alleging those           elements,           an allegation

 that     there       is    federal      enclave       jurisdiction        is     conclusory.

 Therefore,          notwithstanding      the    fact    that       some   courts      have,    on

 unique facts,          excused the requirement to allege title,                       consent,

 and acceptance,           the Court concludes that,            in general,         failure to

 allege any one of those three elements necessary for existence of

 federal        enclave      jurisdiction        renders        a    notice       of       removal

 insufficient.


         The notice of removal in this case did not allege sufficient

 facts for removal. It contained a conclusory statement that Little

 Creek     is    a     federal    enclave       over    which       federal      courts       have


 jurisdiction,         cited cases       calling other military bases                      federal

 enclaves, and gave factual support for the first required element-

 that the United States has title to the land.                         Even accepting all

 these factual allegations as true,                  the "removal notice .             .    . does

 not contain enough information for the district judge to determine

 whether jurisdiction exists." Covert,                    968 F. Supp. 2d at 749-50.

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  "The acquisition of title by the United States is not sufficient

 to effect that exclusion."              Paul/       371 U.S.     at 267        (quoting Silas

 Mason Co.     v.   Tax Commission,         302      U.S.   186,       197) .   As       the    Second

 Circuit     highlighted         in    Davis,    there      are    a        number       of     cases,

 including cases that happened on federal military bases, in which

 federal     courts      found   that    federal      enclave      jurisdiction did not

 exist even though the United States owned the land.                                     Davis,    726

 F.3d at 363-64. Therefore,              though alleging ownership of the land

 satisfies     one element necessary for                courts         to    exercise federal

 enclave      jurisdiction,           enclave    jurisdiction            is     not       plausibly

 asserted without allegations of the state's consent and the federal

 government's         acceptance.        Prime       Team's       notice        only           alleges

 ownership of the land and fails to allege both consent by the state

 and acceptance by the federal government.

          2. Diversity Cases

          In determining whether Defendant sufficiently alleged enclave

 jurisdiction in its notice of removal,                     i t is helpful to look at

 cases     discussing      the    clarity       required     in    a     notice          of    removal

 resting on diversity jurisdiction."^                 Courts have considered notices


   Some courts require citizenship to be pleaded with specificity to adequately
 establish diversity jurisdiction. See, e.g., Hall v. Backyard Leisure, LLC, No.
 3:13cv211, 2013 U.S. Dist. LEXIS 188922, at *4-6 (E.D. Va. Apr. 4, 2013) (holding
 that the notice of removal needed to "set forth with specificity the names and
 citizenship" of the members of the LLC). This specificity requirement does not
 change    Ellenburg's    plausibility    requirement.      Ellenburg         was    a    case    about
 diversity jurisdiction.     519 F.3d at 200.         The court eliminated a              specificity
 standard for pleading jurisdiction in a notice of removal in favor of a
 plausibility standard.   Id.;  see Hamrick v.    Rest.  Mgmt Grp.,   LLC,  No.
 2:14cv02762, 2014 U.S. Dist. LEXIS 131613, at *8-9 (S.D. W. Va. Sep. 19, 2014)

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 of removal insufficient in diversity cases when the party failed

  to adequately allege either of the essential elements of diversity

  jurisdiction. See,           e.g.,       Britton,    2015 U.S.      Dist.    LEXIS 3746,         at

  *13    (''Defendant's        Original Notice,          therefore,      was       defective       in

 that it failed to allege diversity at the time the Complaint was

 filed.");      DBS,    Inc.    v.    Selective Way Ins.         Co.,        No.    2:13-cv-312,

  2013   U.S.   Dist.     LEXIS       97112,     at    *4-6   (E.D.    Va.    July 10,          2013)

  (holding that a defendant's allegation of diversity jurisdiction

 in the notice of removal                   was insufficient because a grammatical

 error made i t unclear whether i t alleged a corporation's principal

 place of business at the time the complaint was filed or just at

 the     time   the    notice        was    filed) .   Even when parties                 alleged   an

 element such as citizenship, but did so unclearly or imperfectly,

 courts     still      held    the    notice     was    insufficient.         See        Johnson   v.


 Nutrex Research,         Inc.,       429 F.    Supp.    2d 723,      725-26       (D.    Md.   2006)

  (holding that calling a                  party a     "resident"     of a     state was not

 sufficient to allege that party was a citizen of that state for

 diversity purposes); Muhlenbeck, 304 F. Supp. 2d at 800-01 (ruling




  (noting that a plaintiff's argument that the defendant's pleading for diversity
 jurisdiction lacked specificity was without merit because Ellenburg held that
 a higher pleading standard was not required). Even if citizenship itself may
 have to be pleaded specifically to make a jurisdictional allegation plausible,
 the notice of removal as a whole need only meet the plausibility standard.
 Although, arguably, a specificity requirement could make the pleading standard
 higher in diversity jurisdiction cases and thus make a comparison to them less
 persuasive, for the purposes of this opinion the comparison is instructive
 because the pleading standard is still plausibility which applies to all notices
 of removal. The specificity for citizenship is an indicator of how enough facts
 need to be pleaded to allege a plausible basis for any type of jurisdiction.

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 that a defendant imperfectly stated its grounds for removal when

 it     alleged     diversity          jurisdiction        but     improperly            alleged

 citizenship of an LLC). Applying the notice of removal diversity

 pleading       standard    to    the    notice      of    removal       federal         enclave

 allegations at issue here produces the same result.                          Just as courts

 determine      notices     are    insufficient           for    imperfect         or    missing

 allegations of the elements of diversity, if there is an imperfect

 or missing allegation of any of the elements of federal enclave

 jurisdiction,          courts    should      generally          consider          the     notice

 insufficient       because       federal       courts      are    courts          of    limited


 jurisdiction       and    jurisdictional         facts     should       be    pleaded       with

 enough specificity to make the notice plausible.^

        Notices     have    been       deemed       deficient      for        as    little     as


 grammatical errors that make jurisdiction unclear. Britton,                                 2015

 U.S.   Dist.     LEXIS   3746    at   *6,   *19;    Evans,      2014   U.S.       Dist.    LEXIS

 166919, at *10. Without any mention of the consent or acceptance

 elements.      Defendant's notice is           even more unclear than one                   that

 alleges citizenship but potentially at the wrong time. See Britton,

 2015 U.S.      Dist.   LEXIS 3746,      at *12-13.




 5 See supra note 4. Though Ellenburg required plausibility not specificity, the
 line of diversity cases shows that some facts, such as citizenship, must be
 specifically pleaded to reach the level of plausibility required. See, e.g.,
 Britton, 2015 U.S. Dist. LEXIS 3746, at *13 (holding a notice of removal was
 insufficient because the party failed to specifically allege citizenship at the
 time of filing).

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        3.   Class Action Cases


        Similar concerns arise in the class action context because,

 as a form of diversity jurisdiction®, jurisdiction in class action

 cases requires a showing of three elements:                        (1) the class is over

 100 people,       (2) any member of the class is a citizen of a different

 state than any defendant,               and    (3)    the amount in controversy is

 over $5,000,000.         28 U.S.C.      § 1332(d);        Covert,      968 F.    Supp.      2d at

 748.     Courts     have    determined          that      notices       of      removal       were


 insufficient for omitting any one of these required elements. See,

 e.g. , Covert,      968 F. Supp.        2d at 751        (D. Md.       2013)    (''Defendant's

 notice      of   removal    completely omits             to   allege      the    size    of    the

 putative class,          which is one of the three required elements for

 federal jurisdiction under CAFA."); cf. Dart Cherokee, 135 S. Ct.

 at 552-53        (holding that a defendant's notice of removal need only

 contain a plausible allegation that the amount in controversy was

 sufficient       under    the   Class    Action       Fairness     Act       C'CAFA")).       Like

 class action jurisdiction,              federal enclave jurisdiction requires

 a showing of three distinct elements. See Covert, 968 F. Supp. 2d

 749-51.




 s      Strawn v.    AT&T Mobility LLC,        530    F.3d 293,   298    (4th Cir.   2008)     ("The
 relevant portions of CAFA were enacted to amend the requirements for diversity
 jurisdiction and to amend the rules for removing cases to federal court, and
 while CAFA expressly altered certain requirements for asserting diversity
 jurisdiction and removing class actions, it did not reverse the established
 principles for alleging and demonstrating jurisdiction on removal.")

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       The Covert court's analysis of class action jurisdiction is

 instructive in this case because i t deals with a defendant failing

 to allege an element required for                  jurisdiction.           See id.       The

 notice in Covert failed to allege the element of class size as

 required for jurisdiction under CAFA.                      Id.     at 751.      Similarly,

 Defendant's notice           fails    to allege the        elements of        consent and

 acceptance as required for federal enclave jurisdiction. There was

 not even a    ''threadbare recital'' of either element.                    See Iqbal,    556

 U.S. at 678. Applying the general principle, used in class action

 cases,     that    federal    courts,    as    courts    of      limited     jurisdiction,

 cannot exercise jurisdiction unless all the required elements are

 established, a court cannot exercise jurisdiction over a case that

 occurred on a federal enclave without evaluating whether the facts

 support the existence of the elements.                  If a court cannot exercise

 jurisdiction without           considering all          the    elements,      then   reason

 dictates    that    a   notice   of    removal     would      be   deficient    unless    it


 alleges all of those elements.

       Therefore,        as has been similarly decided in the context of

 both class action and diversity cases under the principle above,

 the notice of removal in t h i s case i s insufficient because i t does


 not allege all the elements of federal enclave jurisdiction.

       B.   Leave    t o Amend


       After       concluding     that    Defendant's          notice    of     removal   is

 insufficient,       the Court must evaluate whether Defendant may be

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 granted leave to amend the notice.               For the reasons noted below,

 the Court determines that the notice contains an imperfect, versus

 a missing,      allegation,     and the request for leave to amend would

 only address a technical matter, rather than one that is material

 and substantial.


         1. Imperfect Versus Missing Allegations

         The statute permitting amendments states that a                     "defective"

 allegation of jurisdiction may be amended.                     28 U.S.C.    § 1653. To

 determine what defects          can be amended,          courts   have developed a

 distinction between imperfect and missing allegations.                       Courts in

 the Fourth Circuit have split as to what fell within each category.

         The   stricter   line      of   cases   suggests       that   adding   missing

 allegations of elements of              jurisdiction should not be permitted

 even if i t is the same basis for jurisdiction. See Covert, 968 F.

 Supp.    2d    at   750-51.   In    Covert,     the    court    did   not    permit   an

 amendment when the parties failed to allege an element required

 for jurisdiction under CAFA.               at 751. The court held the missing

 element would be adding a new allegation, not fixing an imperfect

 one.          at 751. The more liberal line of cases, however, suggests

 that    the veracity of       jurisdiction is          the   true concern.     Nutter,

 1991 U.S. App.       LEXIS,   at *6.

         According to the Fourth Circuit,              the distinction between the

 strict and liberal cases is only a matter of language.                       Wood, 764

 F.3d at 323.        Ultimately,     both suggest that amendments should be

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  permitted    unless        they     are     to    add       an       entirely     new    basis       for

  jurisdiction. Wood,           764 F. 3d at 323.

        In this case,         the notice is missing factual allegations of

  key   elements       for      federal       enclave           jurisdiction,             Defendant's

  omission of two of the elements falls in between requiring a minor

  amendment, such as those that fix grammatical errors, and a major

  amendment,       such    as    those        that       add       a     whole      new    basis       for

  jurisdiction.       While Defendant's amendment would add more than a

  ''change in verbiage," i t does not rise to the level of alleging a

  new ground for jurisdiction. See DBS,                        Inc., 2013 U.S. Dist. LEXIS

  97112,   at *6.


        The question then becomes whether the                               absence of          required

  elements renders the allegation of jurisdiction imperfect and thus

 amenable     to    amendment,        or    whether       it       means     that    the   notice       is

 missing    allegations          of    jurisdiction             such        that    it    may    not    be

 amended.     The court concludes that adding factual allegations of

 elements      only    seeks      to       ''elaborate        on       an    existing      basis"       of

  jurisdiction.       Evans,      2014      U.S.        Dist.      LEXIS      166919,       at    *    10.

 Defendant     continues        to allege          federal         enclave         jurisdiction but

 only seeks to add new facts that make the allegation sufficient.

 An amendment will permit Defendant to include facts to complete

 the    conclusory        allegation        that        the    court        has    federal       enclave

  jurisdiction. See Arlington Cmty. Fed. Credit Union, 57 F. Supp.

 3d at 596 ("[D]efendants may amend their notices of removal when,

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  for example,      'jurisdiction is alleged in a conclusory fashion'")

  (quoting Richmond, Fredericksburg & Potomac R.R. Co., 508 F. Supp.

 at 805) .

         Though Covert, a pre-Wood case from the strict line of cases,

  suggests      that    a     missing       element       is    a   missing       allegation      and

  therefore may not be amended,                      this Court looks to two post-Wood

 cases that are             instructive on whether a                 notice may be amended;

 Arlington       and        Britton.       In    Arlington,         the   court       permitted    an

 amendment where the defendant alleged diversity of citizenship but

  failed to allege localization of a federal corporation. Arlington

 Cmty.    Fed.    Credit          Union,        57   F.   Supp.     3d    at    598-99.   Although

  localization         is    an     important        consideration         in    determining      the

 element of citizenship, the court held that an amendment would be

 permitted because             it    "simply seeks             to   explain the        reasons    for

 existence of diversity jurisdiction already stated in" the notice

 of removal.      Id.       In Britton,         the court permitted an amendment to a

 notice of removal to ''clarify that diversity existed at the time

 the Complaint was filed." Britton,                       2015 U.S. Dist. LEXIS 3746, at

 *16,    *19.    The defendant had used a present tense verb to allege

 the citizenship of the parties in its notice of removal. Id. The

 court explained that an amendment should be permitted because the

 defendant did not             seek to allege a                new basis        for   removal,    but

 sought to fix an imperfect allegation. Id.




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          This case is more closely analogous to Arlington. The notice

  in Arlington        failed   to    allege       a    factor     that   was   an    important

  consideration for determining a                     party's    citizenship."' Arlington

  Cmty.    Fed.   Credit Union,          57 F.    Supp.   3d at 598.       Likewise,     Prime

  Team failed to allege factors that are important to consider for

  federal      enclave     jurisdiction.          Prime    Team completely omits             the

 elements       of   consent     and      acceptance,          unlike    the   defendant      in

 Arlington who alleged the element of citizenship but omitted the

  fact    of   localization      which      is     used    to    determine       citizenship.

 However,      like the amendment sought by the defendant in Arlington

  to add facts        to explain the             existence      of   jurisdiction already

 alleged,       an   amendment      to    Prime       Team's    notice    still     would    not

 require i t to allege an entirely new basis of jurisdiction,                                but

 would add facts           to the existing basis.               The missing elements of

  federal      enclave      jurisdiction          merely        render    such      allegation

  imperfect.      Though strict          cases prior       to Wood,       such as      Covert,

 suggest that failing to allege an element of jurisdiction is fatal,

 post-Wood case law seems to permit amendments unless they allege

 a    completely new basis for jurisdiction.                     Compare Covert,       968 F.

 Supp.     2d at     751   with Wood,       764       F.3d 328;      Arlington Cmty.        Fed.

 Credit Union, 57 F. Supp. 3d at 598; AEA, 77 F. Supp. 3d at 487-



     The court in Arlington held that the notice was sufficient, but alternatively
 considered whether, if the notice were insufficient, leave to amend should be
 granted. Therefore, the analysis is instructive for this case. Arlington Cmty.
 Fed. Credit Union, 57 F. Supp. 3d at 599.

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  88.    Prime      Team     does      not     seek          to    allege     a    new        basis    for

  jurisdiction.       It simply seeks to fix an imperfect allegation by

 adding the missing elements of federal enclave jurisdiction.

         Therefore,         the    notice     in        this      case   is   imperfect         and    the

 amendment only seeks to correct the allegation of federal enclave

  jurisdiction, not to allege a missing basis for jurisdiction.

         2.   Technical Versus Material and Substantial Amendments


         Once determining that a notice is imperfect, some courts then

 consider      whether       the    amendment           is   "technical"          or    ''material     and


 substantial." Muhlenbeck,                  3 04 F.      Supp.      2d at 801;          Britton,      2015

 U.S.    Dist.      LEXIS    3746,     at    *8.    If       an   amendment       would       lead    to    a

 significant factual dispute,                   it may be material and substantial

 and, thus, should not be permitted. Muhlenbeck, 304 F. Supp. 2d at

 801.     Though      treated          separately            from    missing           and     imperfect

 allegations,         the     technical            versus         material        and        substantial

 analysis      is    related       because         it    involves        substantially           similar

 considerations.           Adding      an    entirely new basis                   for    jurisdiction

 would    clearly cause            a   significant             factual      dispute      because       the

 parties would have to analyze an entirely new argument.                                         On the

 other hand,        changing a verb tense to properly reflect the alleged

 citizenship would not lead to a new dispute because the parties

 were    already       on     notice        that        defendant        alleged        diversity          of

 citizenship. See Britton, 2015 U.S. Dist. LEXIS 3746, at *17-19.




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       Whether something is a             federal enclave is a            fact intensive

  analysis   that may       lead   to more       dispute    over whether         the   Court

  actually has      jurisdiction.        However,    it    is not   the     same type of

  factual dispute contemplated when a new basis of jurisdiction is

  alleged.   While    adding       new    elements    adds    new        facts   into    the

  allegation,    i t is only a      technical amendment to make the notice

 properly allege the existing basis for jurisdiction. Adding new

  facts should not be a barrier to amendment when the notice alleges

  the same type of         jurisdiction because it just seeks to be more

  specific in its existing allegation of jurisdiction to make the

  jurisdiction plausible.          Unlike adding an entirely new basis for

  jurisdiction,     which would lead to a             whole new factual            dispute

 because the parties were not on notice that the basis was being

 alleged,    when    the    allegation of        jurisdiction       is    the    same,   the

 parties are both on notice of the facts that could be in dispute.®

       Though more than a change in verbiage. Defendant is not trying

 to allege a     new basis for jurisdiction.               Permitting an amendment

 allows Defendant to add facts to his existing, imperfect allegation

 of   federal   enclave     jurisdiction and,         thus,    Defendant         should be

 granted leave to amend.




 ® Fairness is also important to consider when permitting a party to amend its
 jurisdictional allegations. See Arlington Cmty. Fed. Credit Union, 57 F. Supp.
 3d at 599. An amendment would cause no prejudice or surprise to Plaintiff in
 this case because Defendant does not seek to allege a new basis for jurisdiction.
 Plaintiff is already on notice that federal enclave jurisdiction is at issue.

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                                     IV.    CONCLUSION


         For the foregoing reasons,            Plaintiff's motion to remand is

 DENIED,      Pursuant to 28 U.S.C.         § 1653, Defendant is hereby GRANTED

 leave    to   amend      the   defective    jurisdictional allegations        in the

 notice of removal within seven (7) days of the date of this Opinion

 and Order.        The Clerk is DIRECTED to send a          copy of this Opinion

 and Order to a l l counsel of         record.


         IT   IS   SO   ORDERED.




                                                                 /s/DlM
                                                            Mark S.    Davis
                                                   UNITED   STATES   DISTRICT   JtJDGE
 Norfolk, Virginia
 October /D , 2018




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